                                     UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF MICHIGAN
                                         SOUTHERN DIVISION-FLINT

IN RE: Michael D. Bommer                                                 CHAPTER 13
                                                                         CASE NO: 15-30151
                                                                         JUDGE DANIEL S. OPPERMAN
             Debtor(s)
___________________________________/

  ORDER FOR DEBTOR(S) TO REMIT PAYMENTS TO THE CHAPTER 13 TRUSTEE BY ELECTRONIC
                                  BANK TRANSFER

         It appearing that Debtor(s) has(ve) regular income and further appearing that automatic transfers can be
established whereby the bank used by the Debtor(s) can transfer funds monthly from that bank account to the Trustee’s
disbursement account and the Court being advised in the premises and the parties having stipulated to the following:

         IT IS HEREBY ORDERED that funding of the plan shall be accomplished by automatic electronic transfers
from the bank account designated by Debtor(s) to the Trustee’s disbursement account. The amount of $458.00 shall be
transferred monthly.

        IT IS FURTHER ORDERED that within 10 days of the entry of this Order, the Debtor(s) shall provide to the
Trustee’s office a copy of a voided check bearing the bank’s name, bank’s routing number and number of the account
used by the Debtor(s).

        IT IS FURTHER ORDERED that within 10 days of the entry of this Order, the Debtor(s) shall complete, sign
and return to the Chapter 13 Trustee’s office the Authorization for Pre-authorized Payments (ACH) authorizing the
Chapter 13 Trustee to initiate debits and/or credit entries to the Debtor(s) bank account.

        IT IS FURTHER ORDERED that should there be a total of three (3) ACH’s are not honored by the Debtor(s) or
the bank for any reason, the Chapter 13 trustee, shall have the discretion to remove the Debtor(s) from the ACH program.
The Chapter 13 trustee shall have the discretion and authority to serve on the Debtor(s), Debtor(s) employer(s) the
following Third Party Payment Order(s) requiring the employer(s) to deduct the actual Chapter 13 plan payment amount,
from Debtor(s) wages:

        That Sun Communities Inc. 27777 Franklin Avenue Suite 200 Southfield MI 48034 : Payroll Department shall
immediately forward and make payable to: Chapter 13 Trustee – Flint, P.O. Box 2175 Memphis, TN 38101-2175, the sum
of $458.00 Monthly (or the last Court ordered payment amount) of the Debtor’s future gross income until the further
Order of this Court and that it cease and desist from giving effect to any prior or future garnishment or assignment of the
Debtor’s income except for Order for child support, or alimony, current withholding taxes, union dues, and all other
insurance premiums. Debtor’s Chapter 13 payment shall not be deducted from an employer’s separately issued bonus
check. Should Debtor receive a bonus check please notify the Chapter 13 Trustee at correspondence@flint13.com.
        IT IS FURTHER ORDERED that should the Debtor(s) change employer(s) during the pendency of the instant
bankruptcy case, then Debtor(s) shall present to the Trustee a Stipulation to Amend the Third Party Withholding Order
within 14 days of the change of employment.
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Signed on January 27, 2015
                                                                  ____ _/s/ Daniel S. Opperman_    __
                                                                       Daniel S. Opperman
                                                                       United States Bankruptcy Judge




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